Norman J. Mullen
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                                                                         NANCY SWEENEY
                                                                      ClERK DISTRICT COfJRT
Special Assistant Attorney General
Department of Environmental Quality
                                                                        2016   nn: 15 mID: o?
Legal Unit, Metcalf Building
P.O. Box 200901
Helena, Montana 59620-0901
Telephone: (406) 444-4961
nmullen@mt.gov                                    t::.O
Attorney for Plaintiff              '\ N0 ~"')(..\;..                              FILED
                                                                                    FEB 0 S 2017
                    MONTANA FIRST JUDICIAL DISTRICT COURT
                      LEWIS AND CLARK COUNTY MONTANA                              Clerk, U.S District Court
                                                                                     District Of Montana
                                                                                            Helena
 MONTANA DEPARTMENT OF                             CaseNo.   Db'{ i()V\lo-\Qk\D
 ENVIRONMENTAL QUALITY,

                       Plaintiff,
                                                   Judge
                                                               CAJ~ 11 ~       3-1-f / U,i_,,
                                                                  JAMES P. REYNOLDS
                                                   Dept.
 VS.


 VOLKSWAGEN AKTIENGESELLSCHAFT
                                                OO·v                Presiding Judge



 DIBIA VOLKSWAGEN GROUP AND/OR                     COMPLAINT & APPLICATION
 VOLKSWAGEN AG, AUDI AG,                           FOR INJUNCTION
 VOLKSWAGEN GROUP OF AMERICA,
 INC., VOLKSWAGEN GROUP OF
 AMERICA CHATTANOOGA
 OPERATIONS, LLC, AUDI OF AMERICA,
 LLC, DR. ING. H.C. F. PORSCHE D/B/A
 PORSCHE AG, AND PORSCHE CARS
 NORTH AMERICA INC.,

                       Defendants.

       Plaintiff Montana Department of Environmental Quality alleges and complains against

the Defendants as follows:



                                     I. INTRODUCTION
       I.      This is a civil action brought by the Montana Department of Environmental

Quality (Department) against Volkswagen, Audi, Porsche, and related companies for penalties




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and injunctive relief for intentionally installing "defeat devices" in about 2,400 light duty diesel

motor vehicles now registered in Montana. Defendants' defeat devices remove, alter, or render

inoperative pollution control devices required by federal law, and produce emissions 5 to 40

times the federal emission limits for nitrogen oxides (NO,) each time one of those vehicles is

operated. Defendants' actions violate Administrative Rule of Montana ("ARM") 17.8.325(1),

which was adopted to implement the Clean Air Act of Montana ("Act"), Title 75, chapter 2, parts

1-3, Montana Code Annotated ("MCA"). A violation of a rule adopted under the Act subjects a

violator to civil penalties of up to $10,000 per violation and to injunctive relief. Each day of

violation is a separate violation.   § 75-2-413, MCA.



                                                II. PARTIES

        2.      The Department is an agency of the State of Montana. § 2-15-3501, MCA. It is

charged by§ 75-2-112(1), MCA, to administer the Clean Air Act of Montana and rules adopted

under that Act. The Department is authorized by§ 75-2-413, MCA, to file actions such as this

seeking civil penalties and injunctive relief.

        3.      Defendants     (collectively,    "Defendants,"   "Volkswagen,"      or   "VW")     are

Volkswagen Aktiengesellschaft d/b/a Volkswagen Group and/or Volkswagen AG, Audi AG,

Audi of America Inc., Audi of America LLC, Volkswagen Group of America Inc., Volkswagen

Group of America Chattanooga Operations LLC, Dr. Ing. h.c. F. Porsche d/b/a Porsche AG, and

Porsche Cars North America Inc.

       4.       Defendants are a multibillion dollar enterprise that designs, manufactures,

exports, imports, and distributes motor vehicles for sale around the world, including in the




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United States and Montana. Included in those motor vehicles are the light duty diesel motor

vehicles in which the defeat devices at issue here were installed.

       5.       Volkswagen AG is a publicly-held German corporation with North American

sales of approximately $40 billion in 2015.

       6.       Volkswagen Group of America Inc. (VWoA), is incorporated under the laws of

New Jersey, and is a wholly-owned subsidiary of Volkswagen AG.

       7.       Volkswagen Group of America Chattanooga Operations                  LLC    (VWoA

Chattanooga) is a Tennessee limited liability company with its principal place of business at

8001 Volkswagen Drive, Chattanooga, Tennessee, 37416. It is a subsidiary ofVWoA.

       8.       Audi AG is a German corporation, and is approximately 99.55% owned by

Volkswagen AG.

       9.       Audi of America LLC ("Audi America") is a Delaware limited liability company,

with its principal place of business located at 2200 Ferdinand Porsche Drive, Herndon, Virginia

20171. Audi America is a wholly-owned U.S. subsidiary of Audi AG.

       10.      Dr. Ing. h.c. F. Porsche d/b/a Porsche AG is a German corporation, and is a

wholly-owned subsidiary of Volkswagen AG.

       11.      Porsche Cars North America Inc., is a Delaware corporation, and is a wholly-

owned subsidiary of Porsche AG.



                                        III. JURISDICTION

       12.      Each defendant is a person under § 75-2-103(15), MCA.            Defendants have

transacted and are transacting business in the State of Montana by repeatedly, purposely, and

knowingly directing their products into the stream of commerce here. From 2009 through 2016,




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Defendants manufactured about 11 million motor vehicles with defeat devices and distributed

about 500,000 of them for sale in the United States. They distributed some of those motor

vehicles to at least four VW dealerships and one Audi dealership in Montana with the intent that

those dealerships would sell or lease the vehicles to consumers. Many of the 2,400 vehicles with

defeat devices that are registered in Montana were brought by Defendants into Montana to be

sold here.      The Defendants are subject to the personal jurisdiction of this Court under

Mont.R.Civ.P. 4(b)(l) because they transact business in Montana and because they have

committed and are committing violations of a Montana air quality rule in Montana.

       13.       "Registered" means a motor vehicle for which the process of registration in

§ 61-1-101(61), MCA, has been completed.

        14.      This Court has personal jurisdiction over Volkswagen AG because it transacts

business in Montana and has caused violations in Montana of a rule adopted under the Act. VW

AG interacts with VWoA, its wholly-owned U.S. subsidiary, by regularly submitting information

to VWoA necessary for VWoA to complete the required applications to obtain certificates of

conformity ("CoCs") from the United States Environmental Protection Agency ("EPA") for a

significant number of the vehicles that Volkswagen AG sells in the United States, including the

2,400 vehicles at issue in this case. The Department alleges, subject to a reasonable opportunity

for further investigation or discovery, that in connection with this and other interactions with its

wholly-owned subsidiary, Volkswagen AG has attended meetings at, and corresponded,

telephoned, and otherwise communicated with, VWoA's United States offices in Michigan.

Volkswagen AG has also attended meetings at, and had other communications with, EPA's Ann

Arbor, Michigan, Office of Transportation and Air Quality ("OTAQ"), the EPA office in charge

of issuing CoCs. Further, Volkswagen AG delivered or arranged for delivery of its cars to the




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United States with the intent to market and sell them in all 50 states, including Montana, and in

fact, VW's motor vehicles were sold in Montana.

       15.      Some of the VW motor vehicles with defeat devices that were delivered for sale

by Volkswagen AG were and are registered and being operated in Montana at times relevant to

this Complaint.

       16.      This Court's exercise of jurisdiction over Volkswagen AG is therefore consistent

with due process.

       I 7.     This Court has personal jurisdiction over VWoA because it transacts business in

Montana and has caused violations in Montana of a rule adopted under the Act. VWoA has an

Engineering and Environmental Office in Michigan (EEO) from which it interacts with EPA

OTAQ in connection with obtaining many of the CoCs for vehicles sold in the United States,

including many of the light duty diesel motor vehicles addressed in this Complaint. Further,

VWoA delivered or arranged for delivery of many of the vehicles addressed in this Complaint

within the United States with the intent to market and sell them in all 50 states, including

Montana, and in fact, some of those vehicles were sold in Montana.

       18.      Some of the VW motor vehicles with defeat devices that were delivered for sale

by VWoA were and are registered and being operated in Montana at times relevant to this

Complaint.

       19.      This Court's exercise of jurisdiction over VWoA is therefore consistent with due

process.

       20.      This Court has personal jurisdiction over Defendant Audi AG because it transacts

business in Montana and has caused violations in Montana of a rule adopted under the Act. In

addition, this Court's exercise of jurisdiction over Audi AG is consistent with due process.




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Among other things, Audi AG has interacted with VWoA's Auburn Hills, Michigan office by

regularly submitting information to that office necessary for VWoA to complete the required

applications to obtain CoCs for the vehicles that Audi AG distributes for sale in the United

States. These vehicles include the light duty diesel vehicles addressed in this Complaint. The

Department alleges, subject to a reasonable opportunity for further investigation or discovery,

that in connection with this and other interactions with VWoA, Audi AG has attended meetings

at VWoA's Auburn Hills office, and corresponded, telephoned, and otherwise communicated

with VWoA's Auburn Hills office. Audi AG has also attended meetings at, and had other

communications with, EPA's OTAQ in Ann Arbor, Michigan. Further, Audi AG delivered or

arranged for delivery of its cars to the United States with the intent to market and sell them in all

50 states, including Montana, and in fact, Audi cars were sold in Montana.

       21.     Some of the Audi motor vehicles with defeat devices that were distributed for sale

by Audi AG were and are registered and being operated in Montana at times relevant to this

Complaint.

       22.     This Court has personal jurisdiction over Audi America because it transacts

business in Montana and has caused violations in Montana of a rule adopted under the Act. In

addition, this Court's exercise of jurisdiction over Audi America is consistent with due process.

Audi America engages in business, including the advertising, marketing and sale of Audi

automobiles, in all 50 states, including Montana. Audi America distributed Audis, including

some of the light duty diesel vehicles addressed in this Complaint, for sale in Montana from

2009 through at least 2015 through an Audi dealership in Bozeman, Montana.




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               Some of the Audi motor vehicles with defeat devices that were distributed for sale

by Audi America were and are registered and being operated in Montana at times relevant to this

Complaint.

       24.     This Court has personal jurisdiction over Volkswagen Group of America

Chattanooga Operations LLC because VWoA Chattanooga transacts business in Montana and

has caused violations in Montana of a rule adopted under the Act. In addition, this Court's

exercise of jurisdiction over VWoA Chattanooga is consistent with due process.

       25.     The Department alleges, subject to a reasonable opportunity for further

investigation or discovery, that, among other things: 1) VWoA is the corporate parent ofVWoA

Chattanooga; 2) VWoA Chattanooga manufactures and manufactured certain Passat motor

vehicles and installed defeat devices in them; 3) VWoA Chattanooga interacts with VWoA, in

connection with vehicle manufacturing and other matters; and 4) in connection with this and

other interactions with its parent company, VWoA Chattanooga has attended meetings at

VWoA's Auburn Hills, Michigan office and/or corresponded, telephoned and otherwise

communicated with that office. Further, VWoA Chattanooga delivered or arranged for delivery

of its cars within the United States with the intent to market and sell them in all 50 states,

including Montana, and in fact, its motor vehicles, including some of the 2,400 motor vehicles

with defeat devices registered in Montana, were delivered by VWoA Chattanooga for sale in

Montana and were sold in Montana.

       26.    Some of the Passat motor vehicles with defeat devices that were manufactured by

VWoA Chattanooga were and are registered and being operated in Montana at times relevant to

this Complaint.




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               This Court has personal jurisdiction over Defendant Porsche AG because it has

caused violations in Montana of a rule adopted under the Act. In addition, this Court's exercise

of jurisdiction over Porsche AG is consistent with due process.

       28.     The Department alleges, subject to a reasonable opportunity for further

investigation or discovery, that, among other things: 1) Porsche AG has interacted with VWoA's

Auburn Hills, Michigan office in connection with obtaining CoCs for the Porsche light duty

diesel vehicles addressed in this Complaint; and 2) in connection with this and other interactions

with VWoA, Porsche AG has attended meetings at VWoA's Auburn Hills office and/or

corresponded, telephoned, and otherwise communicated with VWoA's Auburn Hills office.

Porsche AG has also attended meetings at, and had other communications with, EPA's OTAQ in

Ann Arbor, Michigan. Further, Porsche AG delivered or arranged for delivery of Porsche cars to

the United States with the intent to market and sell them in the United States, and have them

operated in the United States.

       29.     Some of the Porsche motor vehicles with defeat devices were and are registered

and being operated in Montana at times relevant to this Complaint.

       30.     This Court has personal jurisdiction over Defendant Porsche Cars North America

Inc. because it has caused violations in Montana of a rule adopted under the Act. In addition,

this Court's exercise of jurisdiction over Porsche Cars North America Inc. is consistent with due

process.

       31.     The Department alleges, subject to a reasonable opportunity for further

investigation or discovery, that, among other things: I) Porsche Cars North America Inc has

interacted with VWoA's Auburn Hills, Michigan office in connection with obtaining CoCs for

the Porsche light duty diesel vehicles addressed in this Complaint; and 2) in connection with this




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and other interactions with VWoA, Porsche Cars North America Inc. has attended meetings at

VWoA's Auburn Hills office and/or corresponded, telephoned, and otherwise communicated

with VWoA's Auburn Hills office. Porsche Cars North America Inc. has also attended meetings

at, and had other communications with, EPA's OTAQ in Ann Arbor, Michigan.                   Further,

Porsche Cars North America Inc. delivered or arranged for delivery of Porsche cars within the

United States with the intent to market and sell them in the United States.

       32.      Porsche motor vehicles with defeat devices were and are registered and being

operated in Montana at times relevant to this Complaint.

       33.      By designing, manufacturing, or distributing for sale motor vehicles with defeat

devices from 2009 through the present, and causing the use of defeat devices that alter or render

inoperative pollution control devices that increase NOx pollution by 5 to 40 times the federal

motor vehicle emissions standards in about 2,400 motor vehicles registered in Montana, and by

bringing those vehicles into Montana with the intent that they be sold or operated here,

Defendants have intentionally altered, removed, or rendered inoperative a pollution control

device required by federal law.      This violated and continues to violate Montana law and

constitutes sufficient contacts so that Defendants should reasonably have anticipated being haled

into court in Montana.       By behaving as alleged above, Defendants purposefully availed

themselves of the privilege to conduct business in Montana, and this Court's exercise of personal

jurisdiction over them comports with fair play and substantial justice and is reasonable.

Defendants are therefore subject to the personal jurisdiction of this Court.

       34.      This Court has subject matter jurisdiction over the claims in this case under § 75-

2-413(1 ), MCA.




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                  Because motor vehicles with defeat devices manufactured, distributed, or sold by

 Defendants were and are registered in Lewis and Clark County and were and are regularly being

 driven in that county, violations of ARM 17.8.325(1) were committed and are being committed

 in that county, and venue is proper in this Court under § 75-2-4 l 3(2)(b ), MCA.



                                   IV. GENERAL ALLEGATIONS

        33.       42 United States Code ("U.S.C.") § 752l(a) requires EPA to promulgate

emissions standards for new motor vehicles for NOx and other air pollutants.

        34.      40 Code of Federal Regulations ("C.F.R.") § 86.1811-04 sets emission standards

and test procedures for light-duty motor vehicles, including emission standards for NO,.

        35.      A manufacturer may not sell, and a person may not import, any new motor

vehicle not covered by a CoC issued by EPA. 42 U.S.C. § 7522(a)(l). Each application for a

CoC must describe the vehicle's emission control system. 40 CFR § 86.094-21 (b)(! )(i). A

vehicle is covered by a CoC and may therefore be imported into or sold in the U.S. only if it has

been granted a CoC and if the vehicle is as described in the application for a CoC in all material

respects.     42 U.S.C. § 7522(a)(l) and 40 C.F.R. § 86.1848-10(c)(6). The emission control

system described in a CoC is therefore required by federal law and regulation.

        36.      To increase its share of the sale of motor vehicles in the United States, VW tried

in the early-to-mid 2000s to make a diesel engine that was fuel efficient, high performing, and

low-enough polluting that it could meet the federal emission limits for NO,. However, VW

could not achieve those goals at a cost it was willing to pay, but still needed a CoC from EPA for

each type of motor vehicle to import or sell them in the United States.              So, VW instead

intentionally decided to cheat by developing software that would work with the electronic diesel




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                                                                             •
control ("EDC") unit that regulates engines in its light duty diesel motor vehicles. The EDC may

also be known as an "electronic control module" ("ECM").                    The software and EDC work

together to sense certain inputs: the position of the steering wheel, vehicle speed, duration of the

engine's operation, and barometric pressure. The EDC evaluates the inputs, and recognizes

when a vehicle's emissions are being tested on a dynamometer, which is the equivalent of a

motor vehicle treadmill.

          37.   When a vehicle that is a subject of this Complaint is being tested, the EDC and

software adjust fuel levels, exhaust gas recirculation, air pressure levels, and urea injection rates

so that the motor vehicle appears to meet federal emission standards during testing.

          38.   The EDC and software that reduce emissions during testing are a "defeat device."

          39.   During normal driving, when emissions are not being tested, the defeat device

senses the lack of testing and removes, alters, or renders inoperative the vehicle's emissions

control system. This causes the vehicle to increase emissions to 5 to 40 times the federal NOx

limits.    The motor vehicles into which the defeat devices were installed are referred to as

"Subject Vehicles." A table showing the Subject Vehicles follows.

                                                2.0 Liter DieSt>I \fodels

                 \lode! Year   EPA Test Group         Vehirle Make and Model(s)
                 (\tr)
                 2009          9V\\Tl(V02.035N        VW Jena. VW Jena Spmtwagen
                               9VWXV02.0U5N
                 2010          A\'\VA\102.0U5N        VW Golf. VW Jena. VW Jena Sportwagen. Audi A.1

                 2011          BVWXV02.0U5N           'l!W Golf, VW Jena. VW Jetta Sportwagen. Andi A3

                 2012          CV\V},,\102.0USN      VW Golf, vlV Jena, V\V Jena Sportwagen. Audi A3




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                               DV\\'XV02 ou5N-
                                                                             •
                                                       vw Beetle. V\\Tfi;eife Conv..'fliblc. vw Golf. vw
                                                       Jetta. VW Jetta Sponwagen. Audi A3
                ------ ---------+------
                 2014          EV\\-'XV02.0U5N         VW Beetle. V\V Beetle Convertible. VW Golf. VW
                                                       Jeua. VW Jeua Spnnwagen
                 2012          CT\VXV02.0U4S           VWPassat
                 20!3          DVWXV02.0U4S
                 2014          EV\\'il.'V02.0U.~S
                 2oF·-·-      FVGAV02.0V!\C         -- vw Beetle. vw BeetlcCon"'Venl'bie: vw C"'lf. vw
                                                       Golf Sponwagen. VW Jet~1. VW Pas'"t. Audi A3



                                                3.0 titer Diesel :\111dels




       40.     The installation of defeat devices into the Subject Vehicles, and the resulting tests

showing conformity with the federal emission standards for NOx, enabled Defendants to falsely

certify that the Subject Vehicles conformed to those standards. This led the federal EPA to

approve the CoCs for those vehicles.          As described above, EPA's approval of a CoC is a

prerequisite for the importation into, or sale of motor vehicles in, the United States.



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       41.     The emission control system described in the CoCs for the Subject Vehicles,

which on approval by EPA became a pollution control device required by federal law for those

vehicles, did not include the defeat device. A motor vehicle with a defeat device cannot receive

a CoC. EPA, Advisory Circular Number 24: Prohibition on Use of Emission Control Defeat

Device (Dec. 11, 1972); see also 40 C.F.R. §§ 86.1809-01, 86.1809-10, and 86.1809-12.

       42.     When a defeat device operates to cause a Subject Vehicle to emit more NO, than

is allowed for the emissions control system required in the CoC, it removes, alters, or otherwise

renders inoperative an air pollution control device that has been installed as a requirement of

federal law or regulation.

       43.     VW also launched an advertising and public relations campaign touting the non-

existent environmental and performance benefits of its "Clean Diesel" vehicles. Between 2009

and 2015, VW sold about 500,000 Subject Vehicles in the United States. About 2,400 of these

Subject Vehicles were and are registered and regularly being driven in Montana at times relevant

to this Complaint, and some of them were and are registered and regularly being driven in Lewis

and Clark County, Montana at times relevant to this Complaint.

       44.     Only in about 2014-2015, after a nonprofit group, the International Council on

Clean Transportation, contracted with the University of West Virginia to test diesel motor

vehicles, and some of Defendants' vehicles were tested, did the fraud and emissions violations

caused by the Defendants get exposed.

       45.     Defendants continued to deny the fraud and violations until finally, in October

2015, VWoA's CEO admitted to the U.S. Congress that they had installed the defeat devices.

       46.     Unless otherwise stated, the allegations set forth in this Complaint are based upon

information obtained from the documents produced by Defendants. the testimony of Defendants'




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current and foimer employees, publicly-available press reports, and infommtion and documents

obtained from other third-party sources through the Department's independent investigatory

efforts.

           47.    At all times material to this action, Defendants worked in concert with the

common objective of intentionally engaging in the emissions cheating scheme described in this

Complaint. Each Defendant was, and still is, the agent of the others for this purpose, and each

has acted, and is acting, for the common goals and profit of them all. Therefore, all acts and

knowledge ascribed to one of them are properly imputed to the others.

           48.    Volkswagen AG, and its subsidiaries Audi AG, Porsche AG, and VWoA,

designed the Subject Vehicles specifically for sale to United States customers by their U.S.

affiliates.

           49.    Volkswagen AG allocates and controls the overall research and development and

marketing budgets for the brands in the VW Group, including Audi and Porsche.

           50.    Volkswagen AG, VWoA, Audi AG, and Porsche AG share engineering research

and development and engine concepts and designs, including, in this case, the development and

installation of the illegal defeat devices in the Subject Vehicles.

           51.    At all relevant times, Volkswagen AG, Audi AG, and Porsche AG acted with and

through their U.S. affiliates, in particular, VWoA's Michigan-based Engineering and

Environmental Office ("EEO"), VWoA Chattanooga, Porsche NA, and Audi America, to interact

with regulators to obtain CoCs so Defendants could import, distribute, and sell the Subject

Vehicles in the United States.




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        52.    Additionally, the EEO and Porsche NA engaged with regulators regarding

emissions-related compliance and notification issues for Volkswagen AG, including the defeat

device-related allegations described here.

        53.    Defendants intentionally engaged in many violations of a Montana air quality

rule.

        54.    ARM 17.8.325(1) states that "[N]o person shall intentionally remove, alter or

otherwise render inoperative, exhaust emission control, crank case ventilation or any other air

pollution control device which has been installed as a requirement of federal law or regulation."

        55.    That rule was authorized and adopted under the Act, Title 75, chapter 2, parts 1-4,

MCA. See § 75-2-111 (I), MCA.

        56.    A violation of that rule is subject to a penalty of up to $10,000. Each day of

violation is a separate violation. § 75-2-413(1), MCA.

        57.    Penalties for a violation of that rule are assessed using the factors in § 75-1-100 I,

MCA.     See §§ 75-1-1001(2) and 75-2-413(l)(b), MCA.           Penalties are calculated using the

procedures in ARM Title 17, chapter 4, subchapter 3.

        58.    The Department has authority under Montana law to bring this action, and is not

preempted by the federal Clean Air Act ("CAA").

        59.    That act is an example of "cooperative federalism," in which the states and the

United States EPA act as partners to protect and enhance the quality of the nation's air quality.

EPA promulgates regulations setting air quality standards. The states may adopt rules and state

implementation plans (SIPs) that contain those rules for the implementation, maintenance, and

enforcement of those air quality standards. States then submit SIPs to EPA for approval; when

approved, a SIP becomes federal law.




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       60.     ARM 17.8.325 was approved by EPA and was and is part of the Montana SIP at

all times relevant to this Complaint.

       61.     Among the sources of pollution regulated under the CAA are motor vehicles. It

establishes a regulatory framework in which the United States is responsible for setting and

enforcing standards for new motor vehicles or new motor vehicle engines offered for sale in any

of the United States, 42 U.S.C. § 7543(a), but the states are expressly left free to regulate the

emissions of motor vehicles while "in-use" within a state. 42 U.S.C. § 7543(d).

       62.     Defendants have partially settled with most states, including Montana, concerning

their violations of consumer protection laws that arose out of the facts outlined above. The

settlement covers only consumer protection claims under unfair trade and deceptive acts and

practices ("UDAP") laws. Jn Montana, these laws are codified in Title 30, chapter 14, part I,

MCA. Defendants executed the partial settlement on or about June 27, 2016.

       63.     As indicated in the settlement, its implementation is tied to the federal district

court's Order Granting Final Approval of the 2.0 Liter TD! Consumer and Reseller Dealership

Class Action settlement, Doc. 2102, MDL No. 2672 CRB (D. No. Cal. 10/25/16).

       64.     The Montana Attorney General's office is preparing an Assurance of Voluntary

Compliance under§ 30-14-112, MCA, for filing in Lewis and Clark County District Court to

memorialize the consumer UDAP settlement. It provides that VW will pay $ I, 100 per Subject

Vehicle sold or leased prior to September 18, 2015 in Montana.

       65.     In addition, under a federal consent decree issued in October 2016, Montana will

be entitled to receive more than $11 million from a trust to be established by VW under the

settlement to pay for projects to mitigate the excess NO, pollution from the Subject Vehicles.




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This is out ofa total fund for all states and tribes of$2.7 billion. Doc. 2103, pp. 4, I. 10-11,

MDL No. 2672 CRB (D. No. Cal. 10/25/16).

       66.      The partial settlement does not extend to or settle claims by states for penalties or

injunctive relief for violations of state environmental laws and rules over in-use operation of

vehicles with defeat devices. Paragraph 8.8.vi. of that settlement expressly provides that such

environmental claims are not barred.



                                     V. CLAIMS FOR RELIEF

        67.    The Department adopts     ifif 1-66 and incorporates them into these claims for relief
as if they were fully set out in each claim.



FIRST CLAIM- Violation of ARM 17.8.325

       68.     The Subject Vehicles were operated, often daily, by their owners or lessees, or

their agents, from 2009 through 2016, and continue to be operated, often daily, in Montana and

in Lewis and Clark County.

       69.     Each time one of the Subject Vehicles operates or has been operated in Montana,

the defeat device operates or has operated to increase the emission of NO, by 5 to 40 times the

federal emission limit.

       70.     Each time a defeat device on a motor vehicle manufactured or distributed for sale

by one of the Defendants operates or has operated in Montana, Defendants are or were

intentionally removing, altering, or otherwise rendering inoperative an air pollution control

device which has been installed as a requirement of federal law or regulation.




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          71.     Defendants, jointly and severally, are subject to a penalty of up to $10,000 for

  each violation. The number of violations and appropriate penalty amount for each violation will

  be subject to proof at trial.



 SECOND CLAIM- Injunction

          72.     The Department is entitled to injunctions prohibiting the Defendants from

 continuing to commit the violations referred to above, and requiring Defendants to correct those

 violations. §§ 27-19-101 and 75-2-413(2)(a), MCA.



         WHEREFORE, the Department respectfully requests this Court to set a trial date and

 enter judgment in the Department's favor against the Defendants for the penalties and injunctive

 relief requested above, for costs, and for such additional relief as may be appropriate.

                                       STATE OF MONTANA
                                       DEPARTMENT OF ENVIR


 December 14, 2016
                                       By~».MU=N
                                               Special Assistant Attorney General




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